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                              United States District Court
                                        for the
                              Southern District of Florida

  Bryan Boigris, Plaintiff,               )
                                          )
  v.                                      ) Civil Action No. 19-21148-Civ-Scola
                                          )
  EWC P&T, LLC, Defendant.                )

                   Order Referring Motion to Magistrate Judge
         The Court refers the Defendant’s motion to tax costs (ECF No. 125) to
  United States Magistrate Judge Edwin G. Torres for a report and
  recommendations, consistent with 28 U.S.C. § 636(b)(1)(B), Federal Rule of
  Civil Procedure 72, and Rule 1(d) of the Local Magistrate Judge Rules.
        Done and ordered at Miami, Florida, on March 18, 2020


                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
